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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

KÉTO NORD HODGES, MEIKO
SEYMOUR, JARVIS EL-AMIN,
JENNIFER GARCIA, and
JACQUELINE AZIS,
        Plaintiffs,
v.                                                     Case No. 8:24-cv-879
KATHLEEN PASSIDOMO, in her official
capacity as President of the Florida Senate,
and CORD BYRD, in his official capacity
as Florida Secretary of State,
        Defendants.
                                           /

                                    COMPLAINT

     Three Judges Required; Permanent Injunctive Relief Requested; Declaratory
      Relief Requested; Challenge to the Constitutionality of Fla. Stat. § 10.203

        This action challenges two Florida Senate districts in the Tampa Bay area—

Districts 16 and 18—as racially gerrymandered in violation of the Fourteenth

Amendment. District 16 stretches across the waters of Tampa Bay to connect disparate

and distinct Black communities in Tampa and St. Petersburg, packing more than half

of the region’s Black residents into that district. As a result, adjacent District 18 is

artificially stripped of Black residents, diminishing their influence and voice in

elections there. When the State redistricts predominantly based on racial

considerations, the Equal Protection Clause requires the State’s use of race both to be

narrowly tailored and to serve a compelling interest. Here, the State’s use of race was



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not narrowly tailored to serve a compelling interest. The State drew these districts

purportedly to avoid diminishing Black voters’ ability to elect representatives of their

choice in District 16, but the State unnecessarily used race to disregard traditional,

race-neutral redistricting considerations. And far from advancing representation, the

enacted districts dilute Black voters’ power. The State could have drawn these districts

to both avoid the diminishment of Black voting power and respect traditional

redistricting criteria. Instead, the State engaged in racial gerrymandering that

unconstitutionally abridges Plaintiffs’ rights to the equal protection of the laws.

      Plaintiffs bring suit to vindicate those rights, and allege:

                                   INTRODUCTION

      1.     On February 3, 2022, the Florida Legislature passed Senate Joint

Resolution 100 (“SJR 100”), adopting Plan S027S8058 (“Plan 8058” or the “Enacted

Plan”) to redraw the State’s Senate districts for the next decade.

      2.     Plaintiffs—five individual residents of Tampa and St. Petersburg—

challenge Senate Districts 16 and 18 (the “Challenged Districts”) as racially

gerrymandered in violation of the Fourteenth Amendment.

      3.     Figure 1 below depicts the Challenged Districts and the surrounding area

in the Enacted Plan (Plan 8058).




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Fig. 1. The Challenged Districts and surrounding area in the Enacted Plan (Plan 8058).

       4.     While redistricting bodies “will . . . almost always be aware of racial

demographics,” Miller v. Johnson, 515 U.S. 900, 916 (1995), and are often required to

look at race in drawing maps, the Fourteenth Amendment prohibits the unnecessary

centering of race in redistricting decisions.

       5.     Map-drawing in which race predominates, subordinating traditional

race-neutral redistricting considerations to racial considerations, is presumptively

invalid under the Equal Protection Clause. This type of excessively race-based line-

drawing is constitutional only where it satisfies strict scrutiny—where it is narrowly

tailored to advance a compelling government interest. The Challenged Districts fall far

short of this exacting standard.



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       6.      In developing the Challenged Districts, the Legislature elevated race

above all other considerations. The Challenged Districts feature tell-tale indicia of

racial gerrymandering in their deviations from traditional redistricting criteria:

traversing large bodies of water like Tampa Bay, splitting political subdivisions like

Pinellas County and St. Petersburg, and forming noncompact shapes.

       7.      Legislators and their staff purportedly drew these districts in a race-

predominant manner to avoid the diminishment of Black voters’ ability to elect

representatives of their choice in District 16,1 as the Fair Districts Amendment to the

Florida Constitution requires. Fla. Const. art. III, § 21(a) (hereinafter “Fair Districts”).

       8.      That is a laudable and constitutional goal. Complying with Fair Districts’

non-diminishment (or “non-retrogression”) requirement is a compelling governmental

interest that could justify race-predominant redistricting.

       9.      But the Constitution also requires the means by which that interest is

achieved be narrowly tailored. The Legislature failed to narrowly tailor its use of race

to compliance with Fair Districts. Nor do any facts indicate the Challenged Districts

are necessary to achieve compliance with Fair Districts’ non-retrogression

requirement, or any other compelling interest.

       10.     The resulting harm to Plaintiffs is acute, and threefold. First, racial

gerrymandering “reinforces racial stereotypes and threatens to undermine our system


   1
     Plaintiffs use the term “the Protected District” to refer to this and similar districts across
multiple proposed or enacted plans. This district is numbered 16 in the Enacted Plan and 19
in the plan in place from 2016 to 2022 (the “Benchmark Plan”). District 19 in the Benchmark
Plan is referred to as the “Benchmark District.”

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of representative democracy by signaling to elected officials that they represent a

particular racial group rather than their constituency as a whole.” Shaw v. Reno, 509

U.S. 630, 650 (1993).

      11.     Second, Plaintiffs are further harmed because the Legislature sacrificed

genuine communities of interest, unnecessarily dividing St. Petersburg and Pinellas

County and lumping parts of St. Petersburg and Tampa together in District 16—simply

because they are both predominantly Black areas.

      12.     And third, the Legislature’s racial gerrymandering unjustifiably packed

Black voters into District 16, stripping them from adjacent District 18 and reducing

their influence there.

      13.     The Legislature was on notice that its employment of racial criteria was

not sufficiently narrowly tailored to further a compelling governmental interest.

Floridians, including individual legislators, called out and questioned the Legislature’s

unconstitutional actions, but their concerns were dismissed by the Legislature as a

whole.

      14.     The Legislature’s intentional sorting by race, absent narrow tailoring to

achieve a compelling governmental interest, violates the Equal Protection Clause and

renders the Challenged Districts unconstitutional racial gerrymanders.

                                       PARTIES

      15.     Plaintiff Kéto Nord Hodges is a Black resident of District 16 in Tampa.

      16.     Plaintiff Meiko Seymour is a Black resident of District 16 in St.

Petersburg.

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       17.    Plaintiff Jarvis El-Amin is a Black resident of District 16 in Tampa.

       18.    Plaintiff Jennifer Garcia is a Black and Latina resident of District 18 in

St. Petersburg.

       19.    Plaintiff Jacqueline Azis is a white, Hispanic resident of District 18 in St.

Petersburg.

       20.    The Enacted Plan harms Plaintiffs because, among other reasons, it splits

up their communities along racial lines and groups their communities with dissimilar

ones unnecessarily, simply because of their race.

       21.    In particular, Plaintiff Azis lives just seven blocks from the District 16/18

border. Her neighborhood (Historic Old Northeast), her city (St. Petersburg), and her

broader community of South Pinellas are split between the two districts.

       22.    Additionally, Plaintiff Garcia lives on the border just inside District 18;

her residence is surrounded on two sides by District 16. Her precinct (Precinct 202)

inside District 18 has a Black voting-age population of 5.8%. In contrast, the two

precincts across the street—in District 16—have Black voting-age populations of

56.1% and 82.8% (Precincts 203 and 113, respectively).

       23.    Plaintiffs Nord and Seymour, meanwhile, live on opposite ends of

District 16: at the district’s extreme northern end in the North Tampa neighborhood,

and far to the southwest in St. Petersburg. Their communities are grouped together

solely because of the Legislature’s failure to tailor its use of race.

       24.    If the Enacted Plan is not enjoined, Plaintiffs will continue to be harmed

by living and voting in unconstitutionally racially gerrymandered districts.

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       25.    Defendant Kathleen Passidomo is the President of the Florida Senate and

is sued in her official capacity. The Senate over which she presides is, along with the

House of Representatives, responsible for redrawing legislative districts after each

decennial census. Fla. Const. art. III, § 16. Senators are elected from the Enacted Plan.

       26.    Defendant Cord Byrd is the Florida Secretary of State and is sued in his

official capacity. His Department of State has “general supervision and administration

of the election laws,” including the Enacted Plan, administers Senate candidate

qualifying, receives Senate election returns from the county canvassing boards, and

issues certificates of election to successful Senate candidates. Fla. Stat. §§ 15.13,

99,061, 102.112, 102.151, 102.155.

                           JURISDICTION AND VENUE

       27.    This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343, and 2201–02,

as well as 42 U.S.C. §§ 1983 and 1988, because this action arises under the

Constitution and laws of the United States.

       28.    Venue is proper in the Middle District of Florida under 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events giving rise to the claim occurred

in this District.

       29.    This case is properly filed in this Division under Local Rule 1.04(b).

       30.    A three-judge district court must be convened to hear this suit because

this action challenges the constitutionality of the apportionment of a statewide

legislative body. 28 U.S.C. § 2284(a).




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                                             FACTS

                          I. Legal Background and Requirements

         31.    The Florida Senate is comprised of forty members elected from districts.

         32.    Legislative redistricting (or reapportionment) is the duty of the

Legislature, which is tasked with adopting redistricting plans for both the Florida

House and Senate after each decennial census. See Fla. Const. art. III, § 16.

         33.    The Legislature’s discretion in redistricting is cabined by several key legal

requirements, including the Fourteenth Amendment’s Equal Protection Clause and

the Florida Constitution’s Fair Districts Amendment.

         34.    The Fair Districts Amendment sets forth two tiers of requirements for

legislative redistricting. Fla. Const. art. III, § 21.2

         35.    The four “Tier One” requirements take precedence over the “Tier Two”

requirements.

         36.    First, Tier One prohibits redistricting plans and individual districts from

being “drawn with the intent to favor or disfavor a political party or an incumbent”—

banning partisan and incumbency gerrymandering. Id. § 21(a).

         37.    Second, Tier One incorporates the vote dilution standard of Section 2 of

the Voting Rights Act (VRA), prohibiting districts from being “drawn with the intent

or result of denying or abridging the equal opportunity of racial or language minorities

to participate in the political process.” Id.; In re Senate Joint Res. of Legis. Apportionment



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       Article III, Section 20 lays out identical requirements for congressional redistricting.

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1176 (Apportionment I), 83 So. 3d 597, 619 (Fla. 2012).

       38.      Third, Tier One incorporates the “diminishment” or “retrogression”

standard from Section 5 of the VRA, 52 U.S.C. § 10304(b), prohibiting districts drawn

“to diminish [racial or language minorities’] ability to elect representatives of their

choice.” Fla. Const. art. III, § 21(a). This requirement “attempts to eradicate

impermissible retrogression in a minority group’s ability to elect a candidate of

choice.” Apportionment I, 83 So. 3d at 620.

       39.      Fourth, Tier One mandates that districts be contiguous. Fla. Const. art.

III, § 21(a).

       40.      Tier Two sets out three more requirements, which are subordinate to the

Tier One requirements. The Tier Two requirements enshrine in the Florida

Constitution several race-neutral “traditional redistricting principles.” See Miller, 515

U.S. at 916.

       41.      Tier Two requires that districts (1) be as nearly equal in population as is

practicable; (2) be compact; and (3) where feasible, utilize existing political and

geographical boundaries. Fla. Const. art. III, § 21(b).

       42.      The Legislature must adhere to the Tier Two requirements, unless doing

so would violate a Tier One requirement.

       43.      The Legislature can deviate from the Tier Two requirements only to the

extent necessary to comply with Tier One’s minority-protection provisions.




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                       II. 2020 Redistricting Cycle Overview

                             A. Redistricting Process Begins

       44.    Following the 2020 Census, the Legislature embarked on its redistricting

process. Each chamber deferred to the other in drawing the map for its own body, with

the Senate developing the Senate plan.

       45.    Senate   redistricting   proceeded   through     seven   committee    and

subcommittee meetings. The full Committee on Reapportionment (the “Committee”)

met on September 20, October 11, and October 18, 2021 for presentations on the law

and technical aspects of redistricting.

       46.    During the September 20, 2021 meeting, Committee Staff Director Jay

Ferrin gave a presentation on census data, the redistricting timeline, and other basics

of redistricting.

       47.    Ferrin’s presentation encompassed an introduction to the Fair Districts

criteria, including an explanation of Tier One’s “[p]rotections against diminishment,

or reduction in the ability of racial or language minorities to elect representatives of

their choice,” and the Tier Two requirements.

       48.    Throughout the redistricting process, legislators, their attorneys, and

their staff used the terms “Tier One” and “Tier Two” as a shorthand to refer to the

requirements contained within those tiers. This included using “Tier One” as a

shorthand to refer to the minority-protection provisions of Article III, Section 21(a).

       49.    Ferrin’s presentation defined key terminology. His presentation

explained: “Retrogression occurs when a redistricting plan reduces the opportunity of

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a racial or language minority to participate in the political process or elect

representatives of their choice when compared to the benchmark plan. Retrogression

can apply to a whole redistricting plan or to an individual district.”

      50.    His presentation also defined diminishment, explaining that it: “Occurs

when a redistricting plan eliminates a majority-minority district, or potentially

weakens a historically performing minority district where doing so would actually

reduce the ability of racial or language minority groups to elect candidates of their

choice when compared to the benchmark plan.”

      51.    He also gave the definition of the benchmark plan: “The last legally

enforceable redistricting plan in force or effect. A proposed redistricting plan is

compared to benchmark plan to analyze its compliance with protections for racial and

language minorities under federal and state law.”

      52.    Ferrin defined “geographic boundaries” and “political boundaries” as

“[e]asily ascertainable and commonly understood features, such as rivers, railways,

and primary and secondary roads. Primary and secondary roads include interstates,

U.S. highways, and state highways;” and “[b]oundaries of a county or incorporated

municipality (city, town, village, etc),” respectively.

      53.    Finally, Ferrin defined two key terms relevant to the Challenged

Districts: “effective minority district” meant “[a] district containing sufficient voting

age population to provide the minority community with an opportunity to elect a

candidate of choice”; “crossover district” meant “[a] district in which a racial or

language minority group is not a numerical majority of the voting age population, but

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is potentially large enough to elect its preferred candidate by persuading enough

majority voters to cross over to support the minority’s preferred candidate.”

       54.    All these commonly understood definitions undergirded the Legislature’s

redistricting process.

       55.    At the Committee’s October 11, 2021 meeting, attorney Daniel Nordby

gave a presentation on redistricting law.

       56.    Nordby’s presentation included an explanation of the Fourteenth

Amendment’s prohibition on racial gerrymandering and the Fair Districts’ minority-

protection provisions.

       57.    Quoting Apportionment I, Nordby noted: “The anti-retrogression

provisions of the Florida Constitution provide that the Legislature ‘cannot eliminate

majority-minority districts or weaken other historically performing minority districts

where doing so would actually diminish a minority group’s ability to elect its preferred

candidates.’”

       58.    Further explaining Apportionment I, Nordby noted: “A ‘functional

analysis’ is required to evaluate retrogression and to determine whether a district is

likely to perform for minority candidates of choice.” This “[r]equires consideration of

minority population in districts, minority voting-age population in districts, political

data, how a minority population group has voted in the past. No ‘predetermined or

fixed demographic percentage’ is used at any point in the assessment.”

       59.    Nordby further explained: “Tier Two standards may give way to the

extent necessary to avoid retrogression.”

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      60.    Finally,   Nordby    explained    that   Tier   One’s   non-diminishment

requirement “applies to the entire state and remains enforceable” notwithstanding the

U.S. Supreme Court’s decision in Shelby County v. Holder, 570 U.S. 529 (2013).

      61.    On October 18, 2021, the Committee discussed the map-drawing process

and gave general directives to Committee staff to guide the development of draft maps.

                     B. Developing the Enacted Plan in Committee

      62.    The Select Subcommittee on Legislative Reapportionment (the

“Subcommittee”) convened for the first time on November 17, 2021, to workshop four

draft plans Ferrin presented.

      63.    All four plans (8010, 8012, 8014, and 8016) featured a configuration for

the Challenged Districts similar to the Enacted Plan, with one district grouping Black

population centers in Tampa and St. Petersburg, crossing the Bay to do so, and another

district taking in the remaining whiter portions of southern Pinellas County.

      64.    At the same meeting, the Subcommittee heard a presentation on a public

submission (P000S0042 or Plan 42), which altered six discrete districts from the staff-

drawn plans. Figure 2 below is an illustration of Plan 42.




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Fig. 2. Plan 42.

       65.    The Subcommittee heard that Plan 42 “tried to solve . . . one issue with

Tier Two compliance which is in Tampa Bay, and seeks to avoid having a district that

crosses Tampa Bay.” The Subcommittee heard an explanation of Plan 42 which cited

its improvements to compactness, the number of cities and counties split, and

geographic-boundary utilization, and which concluded:

              Whereas maybe last decade it wasn’t possible to draw a
              district wholly in Hillsborough that maintained that ability
              and didn’t diminish, I think the statistics bear out that it is
              now possible and the key statistics in that functional
              analysis are actually all comparable or higher than the
              statistics in the Benchmark District, including: the Black
              and Hispanic share of registered voters; the Black and
              Hispanic share of Democratic primary electorate in 2020
              and in 2018; the Hispanic share of registered Dems; and the
              Black share of registered Dems, which only differs from the


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              benchmark by two-tenths of one percentage point.

        66.   Sen. Randolph Bracy, an African American senator from Orlando, asked

Ferrin why the Protected District crossed the Bay in the staff-drawn plans, “when it

didn’t seem necessary; we can still comply with all the requirements?”

        67.   Ferrin responded: “That was to comply with the Tier One non-

diminishment standards.”

        68.   Sen. Bracy followed up, “could it still be done without violating the non-

diminishment requirement?”

        69.   After Ferrin replied that he hadn’t reviewed the statistics for that, Sen.

Bracy asked him to look into it, and Ferrin confirmed he would.

        70.   The Subcommittee met again on November 29, 2021 to workshop four

new maps (8026, 8028, 8030, and 8034).

        71.   All four plans made small changes to the initial four plans, and all four

featured a configuration for the Challenged Districts similar to the Enacted Plan.

        72.   The Subcommittee held its final meeting on January 10, 2022, when it

recommended advancing what would become Plan 80583 to the full Committee.

        73.   At this meeting, Sen. Bracy referenced his earlier request for staff to look

at the treatment of the Tampa Bay area, saying, “I talked to staff about the Tampa Bay

area and . . . I wanted to see if you could explain the reason for crossing the Bay in all

of the configurations we see, as opposed to not crossing the Bay in that Tampa-area


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    The map the Subcommittee approved was identical to Plan 8058; only the district numbers
changed.

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seat.”

         74.    Subcommittee       Chair   Sen.   Danny     Burgess    responded,    “My

understanding is that staff did look at those options, however, there was a significant

number of potential voters who would be disenfranchised under not crossing the Bay,

and so in order to avoid that potential diminishment there was just no way to make

that work practically.”

         75.   Sen. Bracy pressed Ferrin on the impact of the alternative configuration

on the minority functional analysis and Black voters’ share of the relevant statistics,

asking: “How much it would have diminished the ability for Black voters to vote for

their candidate of their choice . . . . I guess I’m trying to measure how much

diminishment that would have been?”

         76.   Ferrin concluded:

               So the way we’ve drawn it, the Black voters within D[istrict]
               19 are able to effectively control the Democratic primary in
               a district that performs for Democrats.4 If we look at
               drawing it differently, I think we’re looking at a situation
               where the Black voters would not be able to control the
               primary numerically, not make up a majority of the primary
               turnout and that would potentially constitute
               diminishment.

         77.   On January 13, 2022, the Reapportionment Committee considered what

became Plan 8058 (after district renumbering) and approved it by a 10-2 vote.

                               C. Passage of the Enacted Plan

         78.   On January 19, 2022, the full Senate took up Plan 8058. Sen. Rodrigues


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       The Protected District was numbered 19 in the Benchmark Plan and in drafts maps.

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explained the Committee’s approach to drawing the map in each of the areas with a

Tier One-protected district: “We started with a blank map, pulled in the demographics,

and then drew until we had a Tier One-protected district.”

      79.    Sen. Rodrigues continued:

             Once we’ve identified the Tier One districts [by looking at
             which districts in the Benchmark Plan are protected from
             diminishment], we then start with a blank map, highlight
             the data we’ve received from the U.S. Census Bureau by
             race, and then the staff began drawing around the
             population distribution in order to ensure we had not
             diminished the opportunity for minorities to participate or
             elect a voter of their choice. . . . Once we highlighted the
             racial population, we began drawing from there.”

      80.    “Once we had assured that we were Tier One-compliant, which trumps

all the other Tier Two metrics,” Sen. Rodrigues explained, the Committee then took

into consideration the Tier Two standards.

      81.    The full Senate passed Plan 8058 on January 20, 2022.

      82.    There was more debate on Plan 8058’s treatment of the Tampa Bay area

after the Senate sent its plan to the House of Representatives.

      83.    On February 1, 2022, the House took up SJR 100, including Plan 8058.

      84.    Teeing up the joint resolution on the House floor, Speaker Chris Sprowls

noted that House Redistricting Committee Chair Rep. Tom Leek would introduce and

explain SJR 100, and then “you will then be able to ask questions about the Senate

map with the understanding, members, that the Senate map was created by the Florida

Senate, at their direction.”

      85.    But when Rep. Fentrice Driskell, an African American representative

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from Tampa, attempted to ask Rep. Leek whether certain districts in Plan 8058 had

low compactness scores to achieve Tier One compliance, Rep. Leek responded,

“Those questions were more appropriately directed to the Senate.”

      86.    Rep. Leek went on, “I can’t answer the type of questions on the detail of

the Senate map. I can give you the statistical data which is in the packet that you have.”

      87.    The following day, February 2, 2022, the House passed SJR 100,

including Plan 8058 along with the House’s plan for its own chamber.

      88.    Rep. Andrew Learned of Brandon objected to the Challenged Districts,

explaining, “It is splitting part of eastern Hillsborough County and putting it in with

downtown St. Petersburg,” and commented on the lengthy amount of time it takes to

drive between those two areas.

      89.    Rep. Learned continued: “We’re doing it because we say it’s contiguous

across water, which is a concept that I understand makes sense mathematically in a

formula, but it doesn’t make sense to anyone who actually lives there. Crossing the

Bay is a problem. It means that people will be underrepresented.”

      90.    Debating a similarly configured congressional district, Rep. Learned

reiterated the same point: “St. Petersburg and Tampa are two different cities. This idea

that water makes it contiguous and satisfies a math formula is absurd. Manatees do

not vote.”

      91.    The House passed SJR 100 by a 77-39 vote.

      92.    On February 3, 2022, the Senate passed the final version of SJR 100, with




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Plan 8058 combined with the plan for the House.

                   III. Racial Considerations Predominated in the
                         Drawing of the Challenged Districts

       93.    As recounted above, the Legislature’s predominant goal in drawing the

Challenged Districts was to avoid diminishing Black voters’ ability-to-elect in District

16—a laudable goal, as long as the use of race was appropriately tailored.

       94.    This goal necessarily had a direct impact on the shape of District 18,

which takes up the rest of southern Pinellas County.

       95.    These race-based decisions resulted in a map that splits neighborhoods

and ignores traditional redistricting criteria.

       96.    Where, as here, race is the central consideration in mapmaking and

traditional, race-neutral criteria are subordinated to racial considerations, race

predominates. Unless the use of race is necessary to ensure fair and equal opportunity

for minority voters to participate in the electoral process, its use is constitutionally

suspect.

       97.    Besides the direct evidence of racial predominance, “circumstantial

evidence of [the] district[s’] shape and demographics” point to racial predominance as

well. Miller, 515 U.S. at 916. Figure 3 below depicts the Challenged Districts with the

boundaries of St. Petersburg, Pinellas County, and Hillsborough County.




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Fig. 3. The Challenged Districts, showing county lines and the City of St. Petersburg (hatched).

       98.    District 16 is noncompact, consisting of two distinct areas of land

separated by the Bay. No bridge connects these two pieces directly; it is impossible to

drive or walk from one part of the district to another without passing through another

district.

       99.    The Challenged Districts split political subdivisions and do so along

racial lines: they split St. Petersburg and Pinellas County to scoop predominantly

Black areas into District 16, leaving District 18 artificially white.

       100. The Challenged Districts deviate from major geographic boundaries like

highways, railways, rivers, and major roads to achieve the Legislature’s intended racial

division.

       101. In Pinellas County, for example, the district border deviates from

highways like I-275 and US-19 to accomplish racial separation. The border instead


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follows local streets such as 13th Avenue North and a zig-zag of lanes in the Broadwater

neighborhood to separate more- from less-Black areas.

       102. And of course, District 16 traverses the major geographic feature that

defines the region—the Bay—to group far-flung Black residents.

                  IV. The Use of Race Was Not Narrowly Tailored

       103. Where, as here, race was the predominant factor in the government’s

decision-making, strict scrutiny is triggered and “[t]he burden thus shifts to the State

to prove that its race-based sorting of voters serves a ‘compelling interest’ and is

‘narrowly tailored’ to that end.” Cooper v. Harris, 581 U.S. 285, 292 (2017) (quoting

Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 173, 193 (2017)).

       104. Compliance with the Voting Rights Act and corollary requirements like

the Fair Districts Amendment’s non-retrogression standard can justify the

predominant consideration of race, but despite its stated concern for protecting diverse

representation, the Legislature did not narrowly tailor its use of race to comply with

the Fair Districts Amendment.

       105. The Legislature identified no other compelling interest to justify its use

of race when it drew the Challenged Districts.

       106. To ensure its use of race was narrowly tailored to achieve Fair Districts

compliance, the Legislature was obligated to rely on a functional analysis of voting

behavior in the Protected District.

       107. The Legislature’s duty was to ensure, based on the functional analysis,

that Black voters’ ability-to-elect was not diminished compared to the Benchmark

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District, and that its effort to avoid diminishment subordinated the race-neutral Tier

Two criteria, and any other traditional redistricting criteria, only so far as necessary to

comply with Tier One.

        108. As the Senate’s counsel advised: “No ‘predetermined or fixed

demographic percentage’ is used at any point in the assessment.”

        109. The Legislature was presented with alternative configurations for the

Protected District that more narrowly tailored the use of race to avoid diminishing

Black voters’ ability-to-elect, without so dramatically sacrificing the race-neutral

principles embodied in Tier Two.

        110. Even before the 2020 redistricting cycle, the Legislature was offered

alternative configurations.

        111. During the 2015 legislative redistricting process following a court order,

Rep. Matt Caldwell proposed a plan (H079S9073 or “Caldwell Plan”) featuring a

Protected District wholly within Hillsborough County, and a South Pinellas district

sitting compactly on the other side of the Bay. Figure 4 below depicts the Caldwell

Plan.




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Fig. 4. The Caldwell Plan.

        112. During the same session, Sens. Jeff Clemens and Oscar Braynon

proposed their own plans with a Protected District on the Tampa side of the Bay and

another district that united South Pinellas and St. Petersburg.

        113. Rep. Caldwell, Sen. Clemens, and Sen. Braynon filed their plans during

the 2015 special session. HJR 5-C (2015); Ams. 142266, 185554, and 758946 to CS for

SJR 2-C (2015).

        114. These plans—and their treatment of the Tampa Bay area—garnered

significant media attention.5


   5
    See, e.g., Betty Parker, Court-Ordered Redistricting Could Put All Senate Seats on Ballot, FORT
MYERS NEWS-PRESS, Oct. 24, 2015, at 3A, 8A (“The courts strongly signaled they want new
Senate districts to follow other political boundaries, such as county or city lines, as much as



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       115. Other senators also questioned the necessity of the Protected District

crossing the Bay.6

       116. Outside commenters critiqued the cross-Bay configuration. For example,

in one column, political data analyst Matthew Isbell noted:

              The legislature has a district cross the bay from Tampa to
              south Pinellas in every proposal. Their argument is that this


possible, Caldwell said, so he did. ‘People are already familiar with those lines and it’s
logical,’ he said . . . . The hardest area, he said, was the Tampa-Orlando-Ocala triangle, . . .
with significant minority populations, and the Gulf and Tampa Bay forming boundaries or
barriers.”); Joe Brown, Senate Maps Need Not Be Color Coded, TAMPA TRIB., Oct. 22, 2015,
Metro at 1 (“On Tuesday, state Rep. Matt Caldwell, R-North Fort Myers, and state Sen. Jeff
Clemens, D-Lake Worth, each file their own map . . . . they do have one thing in common:
none of them crosses Tampa Bay.”); Mary Ellen Klas, MIA. HERALD (Oct. 21, 2015),
https://miamiherald.typepad.com/nakedpolitics/2015/10/galvano-offers-a-new-map-and-
alternative-plan-for-choosing-who-escapes-re-election.html (“Sen. Jeff Clemens, D-Lake
Worth, [] submitted an alternate map that creates an African-American majority district in
Hillsborough County without linking to black communities in South Pinellas County.”); Jim
Rosica, 2 More Maps Filed for Senate Redistricting, FLA. POLITICS (Oct. 20, 2015),
https://floridapolitics.com/archives/192879-two-more-maps-filed-for-senate-redistricting/
(“State Rep. Matt Caldwell, a North Fort Myers Republican, and state Sen. Jeff Clemens, a
Lake Worth Democrat, each filed their own map. A cursory review shows that neither map
contains districts that cross Tampa Bay. . . . Caldwell couldn’t be immediately reached
Tuesday night, but Clemens told FloridaPolitics.com that his map, among other things, splits
fewer cities than the other maps. ‘I also wanted to draw a map with districts that contain
enough minority voters without jumping the bay,’ Clemens said. ‘In every version so far, that
didn’t happen.’”); Mary Ellen Klas, MIA. HERALD (Oct. 12, 2015), https://miamiherald.
typepad.com/nakedpolitics/2015/10/braynon-offers-a-map-that-makes-big-changes-to-
miami-dade-orlando-and-tampa-bay-.html (“In Tampa Bay, Braynon . . . directed, Districts
19 and 22 ‘must not jump the Tampa Bay.’ . . . Braynon said he specifically refrained from
drawing coastal districts and instead preferred to follow municipal boundaries while also
protecting minority districts, as required by the federal Voting Rights Act and the Fair
Districts amendment to the Florida Constitution.”); Jim Rosica, Oscar Braynon Files Five More
Senate Maps, FLA. POLITICS (Oct. 26, 2015), https://floridapolitics.com/archives/193175-
oscar-braynon-files-five-more-senate-maps/.
    6
      See, e.g., Brandon Larrabee, Senators Still Pitching Maps to Settle Districts, TAMPA TRIB.,
Oct. 23, 2015, Metro at 4 (Sen. David “Simmons said he might offer another plan later to try
to continue altering districts in the Tampa Bay area. The region has emerged as one of the
key flashpoints, with Republicans pushing ahead with plans that would jump across the bay
in order to draw a districts that would allow minority voters to elect a candidate of their
choice. Democrats say that’s unnecessary . . . .”).

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              is needed to maintain the African-American seat (currently
              numbered the 19th) that currently exists and has existed for
              decades. However, the legislative staff is using out of date
              data. . . . Using 2012 primary data, which followed major
              minority registration increases, I was able to create a district
              based just in Hillsborough.7

        117. But the Legislature rejected all these alternatives without properly

evaluating whether they more narrowly tailored the use of race while complying with

the Fair Districts Amendment.8

        118. During the 2020 cycle, commentators again questioned whether the

Protected District needed to cross the Bay, and posited that keeping the district wholly

within Hillsborough County complied with Tier One while better adhering to Tier

Two requirements.

        119. For example, before the Subcommittee’s first meeting, Isbell analyzed the

four initial draft plans and a new proposal of his own, which featured a Protected

District wholly in Hillsborough County.9 Figure 5 below depicts the plan Isbell

proposed (the “2021 Isbell Plan”).




   7
      Matthew Isbell, The Ultimate Guide to the Six State Senate Base Maps, FLA. POLITICS (Oct.
15, 2015), https://floridapolitics.com/archives/192537-the-ultimate-guide-to-the-six-state-
senate-base-maps/.
    8
      See, e.g., Mary Ellen Klas, MIA. HERALD (Oct. 21, 2015), https://miamiherald.typepad.
com/nakedpolitics/2015/10/galvano-offers-a-new-map-and-alternative-plan-for-choosing-
who-escapes-re-election.html (Committee Chair Sen. Galvano “rejected arguments from
Democrats and some Republicans and included in his map a district that links black
communities of Hillsborough and Pinellas counties by crossing Tampa Bay . . . . The Florida
Supreme Court ordered lawmakers not to cross Tampa Bay when drawing the congressional
map and [Republican Sen. Tom] Lee joined Democrats in arguing against it.”).
    9
      Matthew Isbell, Florida Redistricting Tour #5: Crossing the Tampa Bay, MCI MAPS (Nov.
11, 2021), https://mcimaps.com/florida-redistricting-tour-5-crossing-the-tampa-bay/.

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                  Fig. 5. The 2021 Isbell Plan.

         120. Looking at one key metric within the functional analysis, Isbell explained

his plan “has a slightly higher African-American share of the [Democratic] primary

electorate than the staff plan; and it[’]s done by not crossing the bay.”

         121.   During the 2020 cycle, the Legislature also received as a public

submission Plan 42, prompting the inquiry from Sen. Bracy.

         122. Isbell’s proposal, Plan 42, and the general concept of drawing the

Protected District wholly in Hillsborough County, received press coverage during the

2020 cycle.10


   10
      See, e.g., Mary Ellen Klas, Florida Senate Maps of Tampa Bay District Draw Complaints from
Experts, TAMPA BAY TIMES (updated Nov. 18, 2021), https://www.tampabay.com/news/
florida-politics/2021/11/17/florida-senate-maps-of-tampa-bay-district-draw-complaints-
from-experts/; Jacob Ogles, Can SD 19 Lines Shift to Only Hillsborough and Still Remain a
Minority District?, FLA. POLITICS (Nov. 17, 2021), https://floridapolitics.com/archives/
474130-can-sd-19-move-to-hillsborough-and-still-remain-a-minority-district/;               Romy
Ellenbogen, A Senate District Is Split by Tampa Bay. Black Organizers Ask if It’s Time to Change,
TAMPA BAY TIMES (updated Jan. 22, 2022), https://www.tampabay.com/news/florida-



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       123. Plaintiffs, too, have developed their own version demonstrating a more

narrowly tailored approach to Tier One compliance (“Demonstration Plan”). Figure

6 below is an illustration of Plaintiffs’ Demonstration Plan.




Fig. 6. Plaintiffs’ Demonstration Plan.

       124. The Demonstration Plan, as well as all the other alternatives rejected by

the Legislature during its development of the Enacted Plan, demonstrate how the use

of race can be more narrowly tailored to comply with Tier One requirements without

subordinating and sacrificing the Tier Two requirements and other traditional

redistricting principles.




politics/2022/01/21/a-senate-district-is-split-by-tampa-bay-black-organizers-ask-if-its-time-
to-change/.

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         125. Indeed, the key metrics of the functional analysis of the electoral behavior

within the Protected District bear out that the alternative plans do not diminish Black

voters’ ability to elect candidates of their choice—they may enhance it.

         126. These include “statistical data pertaining to voting age population”

(VAP) and “voter-registration data,” In re Senate Joint Resol. of Apportionment 100 (In re

SJR 100), 334 So. 3d 1282, 1289 (Fla. 2022):

                                                        Black Share of
                                       Black VAP
                                                       Registered Voters
                                     (2020 Census)
                                                     (2020 Gen. Election)
                     Benchmark       31.33           30.09
                     Enacted         33.20           32.95
                     Demonstration   30.84           30.40
                     Isbell (2021)   31.10           30.62
                     Plan 42         30.96           30.45

         127. These include “voter-registration data” and “voting registration of actual

voters” pointing to “whether the minority candidate of choice is likely to prevail in the

relevant contested party primary,” League of Women Voters of Fla. v. Detzner

(Apportionment VIII), 179 So. 3d 258, 287 n.11 (Fla. 2015):

                                               Black Share of:
               Dem. Primary Voters,      2020 Dem.       2018 Dem.          Dem. Registered
               2012–20 Average           Primary Voters Primary Voters      Voters, 2020 Gen.
 Benchmark     51.41                     48.12           49.83              48.29
 Enacted       52.82                     49.22           50.93              50.18
 Demonstration 51.94                     49.19           52.22              48.39
 Isbell (2021) 52.89                     50.37           53.37              48.99
 Plan 42       50.38                     48.36           51.11              48.14

         128. Black voters form a majority or near-majority of the Democratic primary

electorate within the Protected Districts under the Benchmark and all these alternative

plans.



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         129. Black voters vote cohesively for Democratic candidates in general

elections in the Protected District across the plans.

         130. Thus, “election results history” also shows that “that candidate [(the

minority candidate of choice)] is likely to prevail in the general election,” In re SJR 100,

334 So. 3d at 1289; Apportionment VIII, 179 So. 3d at 287 n.11, across the alternative

plans:

                  Gen. Election Average Performance in Statewide Elections, 2012–2020
                      Average
                                                            Dem. Margins
                   Performance      Dem. Wins
                 Dem.      Rep.                 Max          Min          Average
   Benchmark     63.9      34.3       14/14     +46.1        +11.6        +30.0
   Enacted       67.6      30.6       14/14     +52.7        +19.5        +37.5
   Demonstration 63.3      34.9       14/14     +44.5        +7.7         +28.4
   Isbell (2021) 62.7      35.4       14/14     +44.1        +6.5         +27.3
   Plan 42       63.5      34.6       14/14     +45.2        +7.9         +28.9

         131. The Legislature lacked good reasons to believe that the Enacted Plan was

necessary to achieve Tier One compliance.

         132. Similarly, there was no strong basis in evidence for the Legislature to

conclude that Tier One required subordinating traditional redistricting principles and

Tier Two criteria to race as the Enacted Plan did.


                                 CLAIM FOR RELIEF

                                     COUNT ONE

                               Racial Gerrymandering
         in Violation of the Fourteenth Amendment to the U.S. Constitution
                                  (42 U.S.C. § 1983)

         133. Plaintiffs reallege and reincorporate by reference all prior paragraphs of

this Complaint as though fully set forth herein.


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       134. The Fourteenth Amendment to the U.S. Constitution provides in

relevant part: “No State shall . . . deny to any person within its jurisdiction the equal

protection of the laws.”

       135. Under the Equal Protection Clause, a racial classification is prohibited

unless it is narrowly tailored to serve a compelling state interest.

       136. As alleged in detail above, race was the predominant factor in the design

of the Challenged Districts. Race predominated over all other redistricting criteria

when they were drawn, rendering the Challenged Districts racial classifications subject

to strict scrutiny.

       137. The use of race as the predominant factor in creating the Challenged

Districts was not narrowly tailored to advance any compelling state interests, including

compliance with the Fair Districts Amendment’s non-retrogression requirement.

       138. Consequently, the districts do not survive strict scrutiny.

       139. Therefore, the districts violate Plaintiffs’ rights under the Equal

Protection Clause and 42 U.S.C. § 1983.


                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the Court enter judgment in their

favor and:

       A. Declare the Challenged Districts to be unconstitutional in violation of the

             Fourteenth Amendment as racial gerrymanders;

       B. Permanently enjoin Defendants and their agents from calling, conducting,



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             supervising, or certifying any elections under the Challenged Districts;

      C. Enter a remedial decree that ensures Plaintiffs live and vote in constitutional

             districts;

      D. Order Defendants to hold special elections to limit the harm to Plaintiffs

             should adequate relief be unavailable prior to the next regular election;

      E. Award Plaintiffs reasonable attorneys’ fees and costs of suit;

      F. Grant any other relief the Court deems just and proper.


Respectfully submitted this 10th day of April, 2024,

/s/ Nicholas L.V. Warren

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